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     Telephone: 949.732.6500
 5   Facsimile: 949.732.6501
 6   Attorney for Defendant
     Moss Bros. Auto Group, Inc.
 7
 8                            UNITED STATES DISTRICT COURT
 9                    FOR THE CENTRAL DISTRICT OF CALIFORNIA
10
11   JAMAL JOHNSON, individually and on        CASE NO. 5:19-cv-02456-FMO-SP
     behalf of others similarly situated,
12                                             [Assigned to Hon. Fernando M. Olguin]
                         Plaintiff,
13                                             STIPULATION TO EXTEND TIME TO
     v.                                        RESPOND TO INITIAL COMPLAINT
14                                             BY NOT MORE THAN 30 DAYS (L.R. 8-
     MOSS BROS. AUTO GROUP, INC.,              3)
15   California Corporation,
16                  Defendant.                 Complaint served: January 13, 2020
     _________________________________
17                                             Current response date: February 3, 2020
18                                             New response date: March 4, 2020
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                                             1             CASE NO. 5:19-cv-02456-FMO-SP
          STIPULATION TO EXTEND TIME TO RESPOND TO INITIAL COMPLAINT BY NOT MORE
                                   THAN 30 DAYS (L.R. 8-3)
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 1            Plaintiff Jamal Johnson and Defendant Moss Bros. Auto Group, Inc. by through and
 2   their respective counsel of record, hereby jointly stipulate as follows:
 3            1.    Plaintiff filed the Complaint in this action against Defendant Moss on
 4   December 20, 2019.
 5            2.    Defendant was served with the Complaint on January 13, 2020.
 6            3.    The current deadline for Defendant to respond to the Complaint was
 7   February 3, 2020.
 8            4.    On February 6, 2020, this Court issued an Order to Show Cause (the “OSC”)
 9   for Plaintiff to show cause in writing on or before February 13, 2020 why this action
10   should not be dismissed for lack of prosecution.
11            5.    On February 7, 2020, Defendant retained Greenberg Traurig, LLP as its
12   counsel. On the same day, Defendant’s counsel made a request to Plaintiff’s counsel to
13   extend the current deadline for thirty (30) days pursuant to Local Rule 8-3.
14            6.    Plaintiff and Defendant stipulated to extend the time for Defendant to
15   respond to the Complaint from February 3, 2020 to March 4, 2020.
16            7.    Good cause exists for this extension because Defendant’s counsel was
17   retained after the current deadline to respond to the Complaint, and this is Defendant’s
18   first request for extension of time, and Defendant is not aware of any previous request for
19   extension.
20            8.    Plaintiff and Defendant jointly request that such an extension be granted, and
21   that the Court take the OSC off calendar.
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                                              2             CASE NO. 5:19-cv-02456-FMO-SP
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 1         IT IS SO STIPULATED.
 2
 3   DATED: February 7, 2020            GREENBERG TRAURIG, LLP
 4
 5                                      By:   /s/ Gregory A. Nylen
                                              Gregory A. Nylen
 6                                            Yoon Jee Kim
                                              Attorneys for Defendant,
 7                                            Moss Bros. Auto Group, Inc.
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 9
10   DATED: February 7, 2020            DAPEER ROSENBLIT LITVAK, LLP
11
12                                      By: /s/ William Litvak
                                              William Litvak
13                                            Attorney for Plaintiff
14
                                        IJH LAW
15
16
                                        By: /s/ Ignacio Hiraldo
17                                            Ignacio J. Hiraldo
                                              Attorney for Plaintiff
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19
                                        SHAMIS & GENTILE, P.A.
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21
                                        By: /s/ Garrett O. Berg
22                                            Garrett O. Berg
                                              Attorney for Plaintiff
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 1                                        ATTESTATION
 2         I, Greg Nylen, am the CM/ECF user whose ID and password are being used to file
 3   this Stipulation to Extend Time to Respond to Initial Complaint. Pursuant to Local Civil
 4   Rule 5-4.3.4(a)(2)(i), I hereby attest that Jamal Johnson on whose behalf this filing is
 5   jointly submitted, have concurred in this filing.
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 8                                           /s/ Gregory A. Nylen
                                             Gregory A. Nylen
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                                          4             CASE NO. 5:19-cv-02456-FMO-SP
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